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                                                                                                   United States Bankruptcy Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                         IN THE UNITED STATES BANKRUPTCY COURT                                           August 30, 2023
                           FOR THE SOUTHERN DISTRICT OF TEXAS                                          Nathan Ochsner, Clerk
                                    HOUSTON DIVISION

                                                                    )
    In re:                                                          )   Chapter 7
                                                                    )   (Previously Chapter 11)
                                                                    )
    MOUNTAIN EXPRESS OIL COMPANY, et al.,                           )   Case No. 23-90147 (DRJ)
                                                                    )
                             Debtors. 1                             )   (Jointly Administered)
                                                                    )
                                                                          (Docket No. 1431)
      CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER

             This Confidentiality Agreement and Stipulated Protective Order (“Order”) relating to the

above captioned bankruptcy cases of Mountain Express Oil Company and its debtor affiliates, as

debtors (collectively, the “Debtors”) is entered into by and among: (a) Blue Owl Real Estate

Capital LLC (f/k/a Oak Street Real Estate Capital, LLC) (“Oak Street”) and First Horizon Bank

(“First Horizon”); and (b) any other persons or entities who become bound by this Order by

signifying their assent through execution of Exhibit A hereto (a “Declaration”). Each of the

persons or entities identified in the foregoing clauses (a) and (b) shall be referred to herein

individually as a “Party,” and, collectively, as the “Parties.”

                                                      Recitals

             WHEREAS, there are, or may be, judicial or other proceedings, including but not limited

to investigations, contested matters, adversary proceedings, litigation, and other disputes (each, a

“Dispute” and, collectively, the “Disputes”) arising out of or relating to the Debtors’ prepetition

relationship with Oak Street or the Debtors’ filing of voluntary petitions under chapter 11 of title



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      claims and noticing agent at www.kccllc.net/mountainexpressoil. The location of Debtor Mountain Express Oil
      Company’s principal place of business and the Debtors’ service address in these Chapter 11 Cases is 3650 Mansell
      Road, Suite 250, Alpharetta, GA 30022.


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11 of the United States Code, U.S.C. §§ 101-1532 (the “Bankruptcy Code”) in this Court, which

cases were converted to cases under chapter 7 of the Bankruptcy Code on August 24, 2023 [Docket

No. 1397] (the cases, the “Bankruptcy Cases”); and

        WHEREAS, the Parties have sought or may seek certain Discovery Material (as defined

below) from one another with respect to one or more Disputes, including through informal

requests, Federal Rule of Bankruptcy Procedure 2004 notices or motions, or service of document

requests, interrogatories, depositions, and other discovery requests (collectively “Discovery

Requests”) as provided by the Federal Rules of Civil Procedure (the “Federal Rules”), the Federal

Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the Southern District of Texas

(the “Bankruptcy Local Rules”); and

        WHEREAS, the Parties anticipate that there are certain persons or entities other than the

Parties hereto2 that may also propound or be served with Discovery Requests in connection with

one or more Disputes during the course of the Bankruptcy Cases;

        NOW, THEREFORE, to facilitate and expedite the production, exchange and treatment of

Discovery Material (as defined below), to facilitate the prompt resolution of disputes over

confidentiality, and to protect Discovery Material that a Party seeks to maintain as confidential,

the Parties stipulate and agree as follows:

        1.       The Parties shall submit this Confidentiality Agreement and Stipulated Protective

Order to the Court for approval. The Parties shall abide by the terms of this Order.




2
    Reference herein to “non-Parties” or a “non-Party,” or a “non-Party” becoming a “Party,” is for purposes of
    reference in this Order only. All such references herein are not intended to reflect any agreement as to whether
    any “Party” is or will become a “party,” or any “non-Party” will not be a “party,” in any case or other proceeding,
    or otherwise to reflect any agreement as to the “party” or “non-party” status of any litigant.

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       2.      Unless otherwise agreed by the Parties or ordered by the Court, all deadlines stated

herein shall be computed pursuant to Rule 9006 of the Federal Rules of Bankruptcy Procedure.

                                          Scope of Order

       3.      This Order applies to all information, documents and things exchanged in, or

subject to, discovery, either by a Party or a non-Party (each a “Producing Person”), to any other

Party or non-Party (each a “Receiving Party”), formally or informally, either prior to or after the

filing of a judicial proceeding, in response to or in connection with any Discovery Requests in any

Disputes, including without limitation, deposition testimony (whether based upon oral

examination or written questions), interrogatories, answers to interrogatories, and documents,

information and things produced in response to formal or information requests for production

(including documents, information and things produced to a Receiving Party for inspection and

documents, whether in the form of originals or copies) (collectively referred to as “Discovery

Material”).

       4.      Any non-Party involved in a Dispute that receives the permission of producing

parties to review Discovery Material and executes and delivers a Declaration to the Parties, shall

be treated as a Party to this Order with all rights and obligations of the signatory Parties hereto and

shall be permitted to review Confidential Material and Highly Confidential Material that is

produced relevant to a Dispute that involves such non-Party as set forth below.

       5.      This Order applies to all non-Parties that are served with subpoenas in connection

with a Dispute or who otherwise produce documents or are noticed for depositions with respect to

a Dispute. All such non-Parties are entitled to the protections afforded hereby and subject to the

obligations contained herein upon signing a Declaration and agreeing to be bound by the terms of

this Order.


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       6.      Any Party or its counsel serving a subpoena upon a non-Party, which subpoena

requires the production of documents or testimony, shall serve a copy of this Order along with

such subpoena and instruct the non-Party recipient of such subpoena that he, she, or it may

designate documents or testimony in a Dispute produced pursuant to such subpoena according to

the provisions herein.

                                  Designating Discovery Material

       7.      Any Producing Person may designate Discovery Material as “Confidential

Material” or “Highly Confidential Material” (any such Discovery Material, “Designated

Material”) in accordance with the following provisions:

               a.        Confidential Material: A Producing Person may designate Discovery
                         Material as “Confidential” if such Producing Person believes in good faith
                         (or with respect to documents received from another person, has been
                         reasonably advised by such other person) that such Discovery Material
                         constitutes or contains nonpublic proprietary or confidential technical,
                         business, financial, personal or other information of a nature that can be
                         protected under Rule 26(c) of the Federal Rules of Civil Procedure and
                         Rules 7026 or 9018 of the Federal Rules of Bankruptcy Procedure; or is
                         subject by law or by contract to a legally protected right of privacy; or the
                         Producing Person is under a preexisting obligation to a third-party to treat
                         as confidential; or the Producing Person has in good faith been requested by
                         another Party or non-Party to so designate on the grounds that such other
                         Party or non-Party considers such material to contain information that is
                         confidential or proprietary to such Party or non-Party.

               b.        Highly Confidential Material: A Producing Person may designate
                         Discovery Material as “Highly Confidential” if such Producing Person
                         believes in good faith (or with respect to documents received from another
                         person, has been reasonably advised by such other person) that such
                         Discovery Material constitutes or includes Highly Confidential Material
                         that is of such a nature that a risk of competitive injury would be created if
                         such Discovery Material were disclosed to persons other than those
                         identified in Paragraph 12 of this Order, such as trade secrets, sensitive
                         financial or business information, or material prepared by its industry
                         professionals, advisors, financial advisors, accounting advisors, experts and
                         consultants (and their respective staff) that are retained by the signatories to
                         this Order in connection with the Disputes or these Chapter 11 cases, and
                         only to the extent that the Producing Person believes in good faith that such

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                       material is of such a nature that “Highly Confidential” treatment is
                       warranted.

       8.      Manner Of Designation: Where reasonably practicable, any Designated Material

shall be designated by the Producing Person as such by marking every such page “Highly

Confidential” or “Confidential” as applicable. Such markings should not obliterate or obscure the

content of the material that is produced. Where marking every page of such materials is not

reasonably practicable, such as with certain native file documents, a Producing Person may

designate material as “Highly Confidential” or “Confidential” by informing the Receiving Party

in writing in a clear and conspicuous manner at the time of production of such material that such

material is “Highly Confidential” or “Confidential.”

       9.      Late Designation Of Discovery Material:        The failure to designate particular

Discovery Material as “Confidential” or “Highly Confidential” at the time of production shall not

operate to waive a Producing Person’s right to later designate such Discovery Material as

Designated Material or later apply another designation pursuant to this Order (“Misdesignated

Material”). At such time of either later designation of such Discovery Material as Designated

Material or later application of another designation pursuant to this Order, arrangement will be

made for the destruction of the Misdesignated Material or for the return to the Producing Person

of all copies of the Misdesignated Material and for the substitution, where appropriate, of properly

labeled copies of such Discovery Material. Upon receipt of replacement copies of such

Misdesignated Material with the proper designation, the Receiving Party or Parties shall take all

reasonable steps to return or destroy all previously produced copies of such Misdesignated

Material. If requested by the Producing Person, a Receiving Party shall verify in writing that it

has taken all reasonable steps to return or destroy such Misdesignated Material. Notwithstanding

the foregoing, no Party shall be deemed to have violated this Order if, prior to notification of any

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later designation, such Discovery Material was disclosed or used in any manner consistent with its

original designation but inconsistent with its later designation. Once such later designation has

been made, however, any Discovery Material shall be treated in accordance with that later

designation; provided, however, that if the material that was not designated has been, at the time

of the later designation, previously publicly filed with a court, no Party shall be bound by such

later designation except to the extent determined by the Court upon motion of the Party or

non-Party that failed to make the designation.

             Use and Disclosure of Confidential or Highly Confidential Material

       10.     General Limitations On Use And Disclosure Of All Discovery Material: All

Discovery Material shall be used by the Receiving Parties solely for the purposes of a Dispute or

the Bankruptcy Cases (including the Parties’ consideration or investigation of any Dispute), and

not for any other purpose, including any business, competitive, governmental, commercial, or

administrative purpose or function.

       11.     Confidential Material:    Confidential Material, and any and all information

contained therein, may be given, shown, made available to or communicated only to the following:

               a.     Janet S. Northrup, in her capacity as chapter 7 trustee [Docket No. 1398]
                      (the “Chapter 7 Trustee”) and her counsel;

               b.     Debtors’ creditors and other constituents (including shareholders) as
                      specified in the signature pages to this Order (including counsel), including
                      their respective members, managers, partners, directors, officers,
                      employees, and agents—in each case, only as necessary to assist with or
                      make decisions with respect to any Dispute, and only after he/she has signed
                      a Declaration in the form provided as Exhibit A hereto;

               c.     any other consultants, advisors or agents of the Parties who become bound
                      by this Order by signifying their assent through execution of Exhibit A
                      hereto;

               d.     The Office of the United States Trustee (including counsel); and

               e.     Any other person identified in Paragraph 12 below.
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       12.       Highly Confidential Material: Highly Confidential Material, and any and all

information contained therein, may be given, shown, made available to or communicated only to

the following:

                 a.    counsel, and staff working under the express direction of such counsel, for:

                       (i)     the Chapter 7 Trustee;

                       (ii)    Debtors’ creditors and other constituents (including shareholders) as
                               specified in the signature pages to this Order; and

                       (iii)   The U.S. Trustee.

                 b.    professionals retained under Sections 328 and 1103 of the Bankruptcy
                       Code, industry advisors, financial advisors, accounting advisors, experts
                       and consultants (and their respective staff) that are retained by the
                       signatories to this Order in connection with the Disputes or the Bankruptcy
                       Cases and have signed a Declaration, in the form provided as Exhibit A
                       hereto;

                 c.    any person who is indicated on the face of a document to have been an
                       author, addressee or copy recipient thereof, an actual or intended recipient
                       thereof, or in the case of meeting minutes, an attendee of the meeting;

                 d.    for purposes of witness preparation, any deponent or witness who was
                       noticed for a deposition, or is on a witness list for hearing or trial, in
                       preparation for his or her noticed deposition, hearing, or trial testimony
                       where such Highly Confidential Material is determined by counsel in good
                       faith to be necessary to the anticipated subject matter of testimony, and that
                       doing so would not cause competitive harm, provided, however, that such
                       Highly Confidential Material can only be shared with such person in
                       connection with preparation for the anticipated testimony, and the persons
                       identified in this paragraph shall not be permitted to retain copies of such
                       Highly Confidential Material;

                 e.    any adverse witness during the course of a deposition where counsel
                       questioning the witness reasonably and in good faith believes that
                       questioning the witness regarding the document is necessary and that doing
                       so would not cause competitive harm;

                 f.    outside photocopying, graphic production services, or litigation support
                       services, as necessary for use in connection with a Dispute or these
                       Bankruptcy Cases;

                 g.    court reporters, stenographers, or videographers who record testimony in
                       connection with a Dispute or these Bankruptcy Cases;
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               h.      the Court, its officers and clerical staff in any judicial proceeding that may
                       result from a Dispute or these Bankruptcy Cases;

               i.      any mediators and their staffs retained in connection with a Dispute or these
                       Bankruptcy Cases; and

               j.      any other person or entity with respect to whom the Producing Person may
                       consent in writing.

       13.     Prerequisite To Disclosure Of Designated Material: Before any person or their

representative identified in Paragraph 12(b), 12(d), 12(f) or 12(j) is given access to Designated

Material, if permitted by the above rules, such person or their representative shall be provided with

a copy of this Order and shall execute a Declaration, in the form provided as Exhibit A hereto.

Each such Declaration shall be retained in the files of counsel for the Party who gave access to the

Designated Material to the person who was provided such access. Such executed Declarations

shall not be subject to disclosure under the Federal Rules or the Bankruptcy Rules unless a showing

of good cause is made and the Court so orders.

       14.     Sealing of Designated Material Filed With Or Submitted To Court:              Unless

otherwise agreed by the Producing Party, all Designated Material filed with the Court, and all

portions of pleadings, motions or other papers filed with the Court that disclose Highly

Confidential or Confidential information, shall be filed under seal in accordance with the Federal

Rules, the Bankruptcy Rules, and the Bankruptcy Local Rules.

       15.     Use of Discovery Material In Open Court: The limitations on disclosure in this

Order shall not apply to any Discovery Materials offered or otherwise used by any Party at trial or

any hearing held in open court except as provided in this paragraph. As part of any pretrial

conference or any meet and confer regarding the use of exhibits in any evidentiary hearing, and at

least 24 hours prior to the use of any Designated Material at trial or any hearing to be held in open

court, counsel for any Party who desires to offer or use such Designated Material at trial or any

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hearing to be held in open court shall meet and confer in good faith with the Producing Person

together with any other Parties who have expressed interest in participating in such meet and confer

to discuss ways to redact the Designated Material so that the material may be offered or otherwise

used by any party, in accordance with the provisions of the Bankruptcy Code and Bankruptcy

Rules. If the Parties are unable to resolve a dispute related to such Designated Material, then the

Producing Party bears the burden of requesting relief from the Court (or the court where the

Dispute is pending) and, in the absence of such relief, there shall be no limitations on the ability

of the Parties to offer or otherwise use such Designated Material at trial or any hearing held in

open court.

                                            Depositions

       16.     Deposition Testimony - Manner Of Designation: In the case of depositions, if

counsel for a Party or non-Party believes that a portion of the testimony should be Designated

Material of such Party or non-Party, such testimony may be designated as appropriate by:

               a.      Stating so orally on the record and requesting that the relevant portion(s) of
                       testimony is so designated; or

               b.      Providing written notice within fourteen (14) days of the Party’s or non-
                       Party’s receipt of the final transcript from the court reporter that the relevant
                       portion(s) of such transcript or video of a deposition is so designated, except
                       in the event that a hearing on related issues is scheduled to occur within
                       fourteen (14) days, in which case the foregoing fourteen (14) day period
                       will be reduced to three (3) business days. Such designation and notice shall
                       be made in writing to the court reporter, with copies to all other counsel,
                       identifying the portion(s) of the transcript that is so designated, and
                       directing the court reporter to treat the transcript as provided in Paragraph
                       21 below. Until expiration of the aforesaid fourteen (14) day period
                       following receipt of the transcript by the Parties or non-Parties, all
                       deposition transcripts and videotapes shall be considered and treated as
                       Highly Confidential unless otherwise agreed on the record at the deposition.




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        17.     Designated Material Used As Exhibits During Depositions:                 Nothing in

Paragraph 16 shall apply to or affect the confidentiality designations on Discovery Material

entered as exhibits at depositions.

        18.     Witness Review Of Deposition Testimony: Nothing in Paragraph 16 shall preclude

the witness from reviewing his or her deposition transcript.

        19.     Presence Of Certain Persons During Designated Deposition Testimony: Anyone

who wishes to attend a deposition must become a Party to this Order prior to such deposition.

When Designated Material is elicited during a deposition, persons not entitled to receive such

information under the terms of this Order shall, upon request, be excluded from the portion of the

deposition so designated.

        20.     Responsibilities And Obligations Of Court Reporters: In the event that testimony

is designated as Confidential or Highly Confidential, the court reporter, who shall first have agreed

to abide by the terms of this paragraph, shall be instructed to include on the cover page of each

such transcript the legend: “This transcript portion contains information subject to a Protective

Order and shall be used only in accordance therewith” and each page of the transcript shall include

the legend “Confidential” or “Highly Confidential,” as appropriate. If the deposition is recorded,

the recording shall also be subject to the same level of confidentiality as the transcript and include

the legend “Confidential” or “Highly Confidential,” as appropriate, if any portion of the transcript

itself is so designated.

                                      GENERAL PROVISIONS

        21.     This Order is a procedural device intended to protect Discovery Materials

designated as Designated Material. Nothing in this Order shall affect any Party’s or non-Party’s

rights or obligations unrelated to the confidentiality of Discovery Materials.


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       22.     Nothing contained herein shall be deemed a waiver or relinquishment by any Party

or non-Party of any objection, including but not limited to, any objection concerning the alleged

confidentiality, the designation of Designated Material, or proprietary nature of any documents,

information, or data requested by a Party or non-Party, any right to object to any discovery request,

or any right to object to the admissibility of evidence on any ground, or to seek any further

protective order, or to seek relief from the Court or any other applicable court from any provision

of this Order by motion on notice on any grounds.

       23.     Unauthorized Disclosure Of Designated Material: In the event of a disclosure by a

Receiving Party of Designated Material to persons or entities not authorized by this Order to

receive such Designated Material, the Receiving Party making the unauthorized disclosure shall,

upon learning of the disclosure: immediately notify the person or entity to whom the disclosure

was made that the disclosure contains Designated Material subject to this Order; immediately make

reasonable efforts to recover the disclosed Designated Material as well as preclude further

dissemination or use by the person or entity to whom the disclosure was made; and immediately

notify the Producing Person of the identity of the person or entity to whom the disclosure was

made, the circumstances surrounding the disclosure, and the steps taken to recover the disclosed

Designated Material and ensure against further dissemination or use thereof. Disclosure of

Designated Material other than in accordance with the terms of this Order may subject the

disclosing person to such sanctions and remedies as the Court may deem appropriate.

       24.     Manner Of Objecting To Designated Material: If any Receiving Party objects to

the designation of any Designated Material (whether such designation is made on a permanent

basis or temporary basis with respect to deposition testimony), the Receiving Party shall first raise

the objection with the Producing Party in writing, and confer in good faith to attempt to resolve


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any dispute respecting the terms or operation of this Order. The Receiving Party may seek relief

from the Court if the Receiving Party and the Producing Party cannot resolve their dispute via the

meet-and-confer process, and the Producing Party acknowledges that shortened notice on an

emergency basis is warranted if the dispute cannot be resolved through the meet-and-confer

process. Until the Court rules on such an issue, the Designated Material shall continue to be treated

as designated. Upon motion, the Court may order the removal of the “Confidential” or “Highly

Confidential” designation from any Discovery Material so designated subject to the provisions of

this Order. In connection with any request for relief concerning the propriety of a “Confidential”

or “Highly Confidential” designation, the Producing Person shall bear the burden of proof.

       25.     Timing Of Objections To Designated Material: A Receiving Party shall not be

obliged to challenge the propriety of a confidentiality designation at the time made, and a failure

to do so shall not preclude a subsequent challenge thereto. The failure of any Party to challenge

the designation by a Producing Person of Discovery Materials as “Confidential” or “Highly

Confidential” during the discovery period shall not be a waiver of that Party’s right to object to

the designation at an evidentiary hearing or trial.

       26.     Inadvertent Production Of Privileged Discovery Material: This Order is entered

pursuant to Rule 502(d) of the Federal Rules of Evidence. Inadvertent production of any Discovery

Materials which a Producing Party later claims in good faith should not have been produced

because of a privilege, including but not limited to the attorney-client privilege or work product

doctrine (“Inadvertently Produced Privileged Information”), will not by itself constitute a waiver

of any applicable privilege. Within a reasonable period of time after a Producing Person discovers

(or upon receipt of notice from another Party) that it has produced Inadvertently Produced

Privileged Information, the Producing Person shall request the return of such Inadvertently


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Produced Privileged Information by identifying in writing the Discovery Materials inadvertently

produced and the basis for withholding such Discovery Materials from production. If a Producing

Person requests the return of Inadvertently Produced Privileged Information pursuant to this

paragraph, the Receiving Party shall immediately take all reasonable steps to return or destroy the

Discovery Materials (and copies thereof) and shall take all reasonable steps to destroy any work

product that incorporates the Inadvertently Produced Privileged Information. If the Receiving

Party disputes the privilege claim, it must notify the Producing Person of the dispute and the basis

therefore in writing within ten (10) days of receipt of the Producing Person’s notification. The

Parties shall thereafter meet and confer regarding the disputed privilege claim. Other than for an

in camera review in connection with seeking a determination by the Court, the Receiving Party

may not disclose or use any Inadvertently Produced Privileged Information for any purpose until

the dispute is resolved. If the Parties cannot resolve their dispute, either Party may seek a

determination from the Court whether the privilege applies. The Producing Person must preserve

the Inadvertently Produced Privileged Information until the dispute is resolved.

       27.     Other Obligations: Nothing in this Order shall affect the obligation of any Party to

comply with any other confidentiality agreement with, or undertaking to, any other person or Party,

including, but not limited to, any confidentiality obligations arising from other agreements,

including other confidentiality or non-disclosure agreements with the Debtors.

       28.     Use Of Non-Discovery Material: To the extent that any Party has documents or

information that (i) such Party possesses or possessed independent of these Bankruptcy Cases; or

(ii) are published or become publicly available in a manner that is not in violation of this Order or

of any obligation of confidentiality to any other person, including a Party (collectively

“Non-Discovery Material”), nothing in this Order shall limit a Party’s ability to use Non-Discovery


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Material for any purpose, including in a deposition, hearing, trial or otherwise in connection with

any Dispute or the Bankruptcy Cases.

       29.     Obligations Following Conclusion Of The Disputes: Within 90 days of the later of

the conclusion of the relevant Dispute(s) or the closure of the Debtors’ bankruptcy cases, including

all appeals as to all Parties, unless otherwise agreed to by the Parties or ordered by a court, all

Parties and non-Parties shall take all reasonable steps to return to counsel for the respective

Producing Person, or to destroy, all Designated Material, and all copies thereof in the possession

of any person, except that: counsel may retain for its records their work product and a copy of

court filings, transcripts, deposition/examination recordings, deposition/examination exhibits,

expert reports, and exhibits introduced at any hearing or trial; and a Receiving Party may retain

Designated Material that is auto-archived or otherwise “backed up” on electronic management and

communications systems or servers, or as may be required for regulatory recordkeeping purposes;

provided that such retained documents will continue to be treated as provided in this Order. If a

Receiving Party chooses to take all reasonable steps to destroy, rather than return, documents in

accordance with this paragraph, that Receiving Party shall, if requested, verify such destruction in

writing to counsel for the Producing Person. Notwithstanding anything in this paragraph, to the

extent that the information in the Designated Material remains confidential, the terms of this Order

shall remain binding.




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       30.     Amendment Of Confidentiality Agreement And Stipulated Protective Order: Upon

good cause shown, and on notice to all Parties, any Party may move to amend the provisions of

this Order at any time or the Parties may agree by written stipulation, subject to further order of

the Court if applicable, to amend the provisions of the Order.

       31.     Disclosure Of Designated Material In Other Proceedings: Any Receiving Party

that may be subject to a motion or other form of legal process or any regulatory process or demand

seeking the disclosure of a Producing Person’s Designated Material: (i) shall promptly notify the

Producing Person (unless such notice is prohibited by applicable law) to enable the Producing

Person to have an opportunity to appear and be heard on whether that information should be

disclosed, and (ii) in the absence of a court order preventing such legally required disclosure, the

Receiving Party shall be permitted to disclose only that portion of the information that is legally

required to be disclosed and shall inform in writing any person to whom such information is so

disclosed of the confidential nature of such information.

       32.     Use Of Designated Material By Producing Person: Nothing in this Order affects

the right of any Producing Person to use or disclose its own Designated Material in any way.

       33.     Objections To Discovery Requests: Nothing herein shall be deemed to prevent a

Party or non-Party from objecting to discovery or asserting that information being sought in

discovery is of such a nature that discovery should not be afforded because of the confidential,

personal or proprietary nature of the information being sought or to preclude a Party or non-Party

from seeking additional or further limitations on the use or disclosure of such information.

       34.     Obligations Of Parties: Nothing herein shall relieve a party of its obligations under

the Federal Rules of Civil Procedure, Federal Rules of Bankruptcy Procedure, Federal Rules of

Evidence, and Local Bankruptcy Rules, or under any future stipulations and orders, regarding the


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production of documents or the making of timely responses to Discovery Requests in connection

with any Dispute.

       35.    Enforcement: The provisions of this Order constitute an Order of this Court and

violations of the provisions of this Order are subject to enforcement and the imposition of legal

sanctions in the same manner as any other Order of the Court.




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Houston, Texas
August 29, 2023

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IT IS SO ORDERED:

Dated:
     Signed: August 30, 2023.                         DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE
                                                      ____________________________________
                                                      DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE


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                                             Exhibit A

               In re Mountain Express Oil Company, et al., No. 23-90147 (DRJ)

                 United States Bankruptcy Court, Southern District of Texas

DECLARATION OF ACKNOWLEDGEMENT AND AGREEMENT TO BE BOUND BY
THE CONFIDENTIALITY AGREEMENT AND STIPULATED PROTECTIVE ORDER

         I, _____________________________declare under penalty of perjury (this “Declaration”)
that:

         1.     My address is                                                                       .

         2.     My present employer is                                                              .

         3.     My present occupation or job description is

                                                                                                    .

         4.     I hereby certify and agree that I have read and understand the terms of the

Confidentiality Agreement and Stipulated Protective Order (the “Order”). All capitalized terms

not otherwise defined in this Declaration have the meanings ascribed to such terms in the Order.

I further certify that I will not use Designated Material for any purpose other than the Disputes and

the Bankruptcy Cases, and will not disclose or cause Designated Material to be disclosed to anyone

not expressly permitted by the Order to receive Designated Material. I agree to be bound by the

terms and conditions of the Order.

         5.     I understand that I am to retain in confidence from all individuals not expressly

permitted to receive Designated Material, whether at home or at work, all copies of any Designated

Materials, and that I will carefully maintain such materials in a manner consistent with the Order.

I acknowledge that the return or destruction of Designated Material shall not relieve me from any

other continuing obligations imposed upon me by the Order.




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         6.    I acknowledge and agree that I am aware that by receiving Designated Material:

(a) I may be receiving material non-public information about companies that issue securities; and

(b) there exist laws, including federal securities laws, that may restrict or prohibit the sale or

purchase of securities of such companies as a result of the receipt of such information.

         7.    I submit to the jurisdiction of this Court solely with respect to the provisions of the

Order.



Date: _______________                         Signature: _______________________________




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